                        EXHIBIT C




Case 3:23-cv-00376 Document 135-3 Filed 06/01/23 Page 1 of 9 PageID #: 2339
                                  L.E.
                                    vs
                         BILL LEE, et al.




                    ARON JANSSEN, M.D.
                          August 12, 2022




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·1

·2·   · · · · ·IN THE UNITED STATES DISTRICT COURT
· ·   · · · · ·FOR THE MIDDLE DISTRICT OF TENNESSEE
·3·   · · · · · · · · · NASHVILLE DIVISION
· ·   ·___________________________________________________
·4

·5
· ·   ·L.E., by his Next Friends and
·6·   ·Parents, SHELLEY ESQUIVEL and
· ·   ·MARIO ESQUIVEL,
·7
· ·   · · · · · · · · Plaintiff,
·8
· ·   ·vs.· · · · · · · · · · · · · ·Case No. 3:21-CV-00835
·9

10· ·BILL LEE, in his Official
· · ·Capacity as Governor of
11· ·Tennessee, et al.,

12· · · · · · · · · Defendants.
· · ·___________________________________________________
13

14

15
· ·   · · · · · · · · Videoconference Deposition of:
16
· ·   · · · · · · · · ARON JANSSEN, M.D.,
17
· ·   · · · · · · · · Taken on behalf of the Plaintiff
18·   · · · · · · · · August 12, 2022

19· · · · · · · · · Commencing at 9:30 a.m. CST

20

21
· ·   ·___________________________________________________
22
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·1· · · · · · · ·MS. BORELLI:· Objection to form.

·2· · · · · · · ·THE WITNESS:· I mean, I'm one of the

·3· ·authors of them.· I specifically wrote the section

·4· ·on social transition based upon the updated evidence

·5· ·and support.· So I would say, yes, I would plan to

·6· ·follow the recommendations.

·7· · · · · · · ·But again, it's important to note that

·8· ·explicit within the standards of care is that these

·9· ·are guidelines and that what's most important is the

10· ·patient and the family you have sitting in front of

11· ·you in your room.· It's always going to be a

12· ·tailored and individualized discussion about the

13· ·risks, benefits, and alternatives of every single

14· ·intervention that we have before us before any

15· ·decisions are made.

16· ·BY MR. HILDABRAND:

17· ·Q· · · What chapters in the new Standards of Care

18· ·have you assisted in drafting?

19· ·A· · · The child's -- the section in the mental

20· ·health section.

21· ·Q· · · All right.· Were drafts of the new chapters

22· ·circulated back in December of 2021?

23· · · · · · · ·MS. BORELLI:· Object to form.

24· · · · · · · ·THE WITNESS:· I don't know the dates.

25· ·They weren't publicly made available.· They were



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·1· ·specific and for which feedback was solicited from

·2· ·WPATH members.

·3· · · · · · · ·MR. HILDABRAND:· All right.· Travis, can

·4· ·you circulate Document HH?

·5· ·BY MR. HILDABRAND:

·6· ·Q· · · Dr. Janssen, is this the December 2021 draft

·7· ·of the "Child" -- the "Child" section for Standard

·8· ·of Care 8 that was circulated back in December 2021?

·9· ·A· · · I couldn't tell you the providence of this

10· ·document.

11· ·Q· · · Have you seen drafts of the Standard of

12· ·Care 8 "Child" chapter?

13· ·A· · · It's been a highly iterative process, writing

14· ·this chapter, and there have been probably

15· ·40 different versions that have been circulated

16· ·among the authors over the course of the last year

17· ·and a half.· So, I have no sense of this document

18· ·that I see in front of me of which of those drafts

19· ·this may or may not represent.

20· · · · · I also see there's a watermark that says

21· ·"WPATH Property, Confidential Draft."· I'm not sure

22· ·how that enters into the record or what that means.

23· · · · · · · ·MR. HILDABRAND:· This is not a document

24· ·that we obtained during discovery.

25· ·/ /



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·1· ·BY MR. HILDABRAND:

·2· ·Q· · · Going down, do you see where it says, "Gender

·3· ·Diverse:· This chapter employs the term 'gender

·4· ·diverse,' given that gender trajectories in

·5· ·prepubescent children cannot be predicted and may

·6· ·evolve over time"?

·7· · · · · · · ·MS. BORELLI:· Just a standing objection

·8· ·on the record based on concerns that Dr. Janssen has

·9· ·flagged about the providence of this document.

10· · · · · · · ·THE WITNESS:· I don't feel comfortable

11· ·discussing a confidential document that hasn't been

12· ·released that's not in its final form.

13· ·BY MR. HILDABRAND:

14· ·Q· · · All right.· We'll just talk about the terms

15· ·and ideas here, even if it's not specifically for

16· ·this document.

17· · · · · Here, the document says, "The term 'gender

18· ·diverse' includes transgender binary and nonbinary

19· ·children, as well as gender diverse children who

20· ·will ultimately not be transgender."

21· · · · · Regardless of whether or not this is what the

22· ·Standard of Care 8 will say, would you agree with

23· ·that definition of gender diverse?

24· · · · · · · ·MS. BORELLI:· Object to form.

25· · · · · · · ·THE WITNESS:· I would agree with that.



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·1· ·education?

·2· · · · · · · ·MS. BORELLI:· Object to form.

·3· · · · · · · ·THE WITNESS:· No.

·4· ·BY MR. HILDABRAND:

·5· ·Q· · · If WPATH were to publish a chapter on eunuchs

·6· ·and state that eunuch is a gender identity, would

·7· ·you agree or disagree with that statement?

·8· · · · · · · ·MS. BORELLI:· Object to form.

·9· · · · · · · ·THE WITNESS:· I have not seen a draft of

10· ·an alleged chapter on eunuchs, so I have no context

11· ·in which I would be able to answer that question.

12· ·BY MR. HILDABRAND:

13· ·Q· · · Are you aware that WPATH -- I'm sorry.

14· · · · · Is WPATH planning on publishing a chapter on

15· ·eunuchs in the Standards of Care 8?

16· · · · · · · ·MS. BORELLI:· Object to form.

17· · · · · · · ·THE WITNESS:· I won't be able to tell

18· ·you that until after it's published.

19· ·BY MR. HILDABRAND:

20· ·Q· · · Have there been drafts of a chapter on

21· ·eunuchs circulated at any point in the past

22· ·two years?

23· · · · · · · ·MS. BORELLI:· Object to form.

24· · · · · · · ·THE WITNESS:· I don't know.

25· ·/ /



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·1· · · · · · · ·(Overlapping speech.)

·2· · · · · · · ·MR. HILDABRAND:· This is a speaking

·3· ·objection.· This is our deposition.· Your side has

·4· ·used many tweets and retweets of articles during the

·5· ·course of depositions of our witnesses.

·6· · · · · · · ·And this is something that he posted

·7· ·less than two months ago about an ideal that he says

·8· ·is important to him.· So I would like him to answer

·9· ·the question, is F-that an important ideal to him.

10· · · · · · · ·MS. BORELLI:· And I will register a

11· ·continuing objection that this has absolutely

12· ·nothing to do with any of the opinions offered in

13· ·his expert report and he is testifying in this case

14· ·as an expert.· My objection stands.

15· ·BY MR. HILDABRAND:

16· ·Q· · · Please answer the question.· Is that an

17· ·important ideal for you?

18· ·A· · · An important ideal --

19· · · · · (Overlapping speech.)

20· · · · · · · ·MS. BORELLI:· Same objections.

21· · · · · · · ·THE WITNESS:· -- is how I'm choosing to

22· ·raise my daughters, which is different from my

23· ·professional ethics and the work that I do with the

24· ·patients that I work with.

25· · · · · · · ·In the context of this particular tweet,



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·1· ·it is a value for me, as it is a value for all of

·2· ·the patients that I work with, that understanding

·3· ·one's own wishes, desires, choices to be made with

·4· ·an informed decision, that we want to understand

·5· ·specific to this case, specific to the expert

·6· ·testimony that I am providing, that when a decision

·7· ·about medical care and psychiatric care is made,

·8· ·that that decision is made with an understanding of

·9· ·the risks, benefits, and alternatives of that

10· ·specific choice that is agreed upon and discussed

11· ·with the patient, with their family, and with the

12· ·healthcare team.· That is an ideal that I stand for.

13· ·BY MR. HILDABRAND:

14· ·Q· · · Do you -- one last question.· Do you view

15· ·this tweet as an example of advocacy?

16· · · · · · · ·MS. BORELLI:· Same objections.

17· · · · · · · ·THE WITNESS:· This tweet is a personal

18· ·tweet.· It has nothing to do with advocacy in the

19· ·child psychiatric space.

20· ·BY MR. HILDABRAND:

21· ·Q· · · Have you answered -- have you understood the

22· ·questions today and answered to the best of your

23· ·ability?

24· ·A· · · I have.

25· · · · · · · ·MR. HILDABRAND:· That's all I have.



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